      CASE 0:07-cv-01205-PAM-JSM Document 74 Filed 04/09/09 Page 1 of 1


              UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MINNESOTA

Youa Vang Lee,
trustee for the heirs and next-of-kin
of Fong Lee, Decedent

               Plaintiff,

       vs.                                                CIVIL TRIAL NOTICE
Officer Jason Andersen, et al                         Case Number Civil 07-1205 PAM/JSM

               Defendants.


       (x) TAKE NOTICE That a proceeding in this case has now been set for the place, date
and time set forth below:

                                          Courtroom 7D
                                     316 North Robert Street
                                    St. Paul, Minnesota 55101

Before the Honorable Paul A. Magnuson on Monday, May 18, 2009 @ 9:00 A.M., for civil
jury selection and trial.

Proposed voir dire, jury instructions, trial briefs, motions in limine, witness and exhibit lists are
due by 4:30 p.m. on Monday, May 11, 2009. The trial briefs and motions in limine are to be filed
on CM/ECF. Counsel shall submit two hard copies of all materials directly to Judge Magnuson’s
chambers and one copy to Judge Magnuson’s e-mail box
(magnuson_chambers@mnd.uscourt.gov). The trial materials should be submitted in Word
Perfect format. Use of this e-mail box does not constitute filing with CM/ECF, nor is it a
replacement for filing. COUNSEL MUST PREMARK ALL EXHIBITS.




                                                      RICHARD SLETTEN, CLERK
Dated: April 9, 2009
                                                      s/Suzanne M. Ruiz
                                                      Suzanne M. Ruiz, Calendar Clerk

cc:    Counsel of Record
